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1
                                 UNITED STATES DISTRICT COURT
2                                    DISTRICT OF COLUMBIA
3

4    PROGRAMMER RESOURCES INTL INC., a
     Missouri corporation, 221 Clarkson Executive
5    Park, Ellisville, MD 63011
6                                                        Case No.:
            -and-
7
     SITARAMA SRINIVAS PEDDADA
8    103D Aspen Towers Andrabank Main Road               COMPLAINT
     Taranaka, Secunderabad
9
     Telangana, 500017
10   India

11    Plaintiffs,
12
             against
13
     UNITED STATES CITIZENSHIP AND
14   IMMIGRATION SERVICES,
     20 Massachusetts Ave NW,
15
     Washington DC 20529
16

17
                                Defendants.
18

19

20                                             COMPLAINT
21

22
                                            I. INTRODUCTION
23
             1. This is an action brought pursuant to section 10b of the Administrative Procedure Act,
24

25   5 U.S.C. § 701, et. seq., seeking to hold unlawful and set aside the decision of the United States

26
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1    Citizenship and Immigration Services (USCIS) in File No. WAC1808951517 dated October 12,

2    2018, denying PROGRAMMER RESOURCES INTL INC. (PRI)’s Form I-129, Petition for
3
     Nonimmigrant Worker, upon behalf of SITARAMA SRINIVAS PEDDADA on the grounds that
4
     1) that no “actual supporting evidence” 1 was provided evidencing that Pace University and New
5
     York City College have programs for granting college level credits based on training or work
6

7    experience and that 2) the work experience letters provided which the college officials utilized in

8    their evaluations do not appear to be indicative of any progressively responsible work, is
9
     arbitrary and capricious inasmuch as the decision disregarded letters from officials of both
10
     schools as well as a website page evidencing that such programs did in fact exist and any
11
     purported deficiencies in the work experience letters are irrelevant in light of the evaluators’
12

13   conclusion that the beneficiary had the equivalent of the required degree. Accordingly, the Court

14   should hold this decision unlawful and set it aside.
15

16
                                              II. PLAINTIFFS
17
             2. PRI is a Missouri corporation which is global provider of Information Technology
18

19   (IT) Consulting, Software Engineering and Workforce Solutions. It is a strategic partner to large,

20   medium, and small businesses focused on helping them develop unique solutions to solve
21   complex business challenges. PRI assesses the business needs of its clients and works with them
22

23   1
      Plaintiffs are unaware of any distinction between “evidence” and “actual supporting evidence”
24   inasmuch as all evidence, if it is probative in nature (as it much be to be admissible), “actually”
25
     supports one’s case.

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1    devise, design, implement, enhance and maintain IT solutions to those problems using its highly

2    educated and experienced staff of IT professionals. Because of its inability to recruit sufficient
3
     numbers of qualified U.S. citizens or permanent resident IT professionals, PRI has been
4
     compelled to recruit highly trained foreign professionals such as Mr. Peddada to satisfy its
5
     clients’ pressing IT needs.
6

7           3. SITARAMA SRINIVAS PEDDADA is a native and citizen of India currently residing

8    in India. He has earned a Bachelor and Master of Technology degree from leading universities in
9
     India, the academic equivalent of a U.S. Bachelor’s and Master’s degree in Engineering, and has
10
     over 13 years of progressively responsible experience in the field of Computer Information
11
     Systems. His education and experience, taken as a whole, as has been evaluated by a Professor of
12

13   Computer Science and a Professor of Computer Systems Technology to be the equivalent of a

14   U.S. Bachelor’s degree in Computer Information Systems.
15

16
                                           III. DEFENDANT
17

18
            4. The defendant, United States Citizenship and Immigration Services (USCIS), is an
19
     agency of the United States government residing in the District of Columbia.
20

21                                          IV. JURISDICTION
22
            5. This being a civil action against the United States arising under the Immigration and
23
     Nationality Act, 8 U.S.C. § 1101, et. seq., and the Administrative Procedure Act, 5 U.S.C. § 701,
24

25

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1    et. seq., both laws of the United States, original jurisdiction over this matter is vested in this Court

2    by 28 U.S.C. § 1331.
3

4
                                                V. STANDING
5

6
             6. PRI has a legally protected interest in a decision by the USCIS on PRI’s petition upon
7
     Mr. Peddada’s behalf which is not arbitrary and capricious, nor an abuse of discretion, and which
8
     is in accordance with law, per 5 U.S.C. § 706(2), and the invasion of this right has caused it
9

10   concrete and particularized injury in that as a result of this invasion PRI can no longer employ Mr.

11   Peddada and so cannot derive the revenue it previously received from the sale of his services to its
12
     client; (2) there is a causal connection between the injury-in-fact and the defendant’s challenged
13
     behavior in that it is precisely the defendant’s denial of PRI’s petition that has caused PRI to sustain
14
     this loss and (3) it is reasonably certain that the injury-in-fact will be redressed by a favorable
15

16   ruling in that an approval of PRI’s petition will qualify him to apply for an H-1B visa with which

17   he can return to the United States to be employed by PRI. Accordingly, PRI has standing to
18
     complain of this action. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992).
19
             7. Mr. Peddada likewise has a legally protected interest in a decision by the USCIS on
20
     PRI’s petition upon his behalf which is not arbitrary, capricious, nor an abuse of discretion, and
21

22   which is in accordance with law, per 5 U.S.C. § 706(2), and this right has been invaded in that the

23   improper denial of PRI’s petition has caused him concrete and particularized injury in that as a
24   result of this denial he can no longer be employed by PRI and so cannot derive the revenue he
25

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1    previously received from his employment and, further this denial has deprived him of an extension

2    of his legal status in the U.S. and so compelled him to depart the country; (2) there is a causal
3
     connection between the injury-in-fact and the defendant’s challenged behavior in that it is precisely
4
     the defendant’s denial of PRI’s petition and Mr. Peddada’s application for extension of stay which
5
     caused him to cease working for PRI and to depart the country and (3) it is reasonably certain that
6

7    the injury-in-fact will be redressed by a favorable ruling in that such a ruling will enable Mr.

8    Peddada to apply for an H-1B visa to be able to return to the United States be employed by PRI.
9
     Further, PRI wishes to employ Mr. Peddada in the offered position. Accordingly, Mr. Peddada has
10
     standing to complain of this action. Lujan, supra.
11

12
                                                 VI. VENUE
13
            8. Pursuant to 28 U.S.C. § 1391(e), venue is proper in the District of Columbia, where the
14
     defendant resides.
15

16

17     VII. BRIEF STATEMENT OF PROCEDURAL HISTORY AND LEGAL BACKGROUND
18
            9. On February 6, 2018, PRI filed a Petition for a Nonimmigrant Worker (Form I-129),
19
     with USCIS to classify Mr. Peddada as a temporary worker in a specialty occupation (H-1B) under
20
     8 USC § 1101(a)(15)(H)(i)(b) with a concurrent request for extension of Mr. Peddada’s stay in the
21

22   U.S. in H-1B status.

23          10. 8 USC § 1101(a)(15)(H)(i)(b) provides in relevant part that “The term ‘immigrant’
24   means every alien except an alien who is within one of the following classes of nonimmigrant
25

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1    aliens-- …. an alien (i) (b) … who is coming temporarily to the United States to perform services

2    … in a specialty occupation described in section 214(i)(1) [8 USC § 1184(i)(1)] … and with respect
3
     to whom the Secretary of Labor determines and certifies to the Attorney General that the intending
4
     employer has filed with the Secretary an application under section 212(n)(1) [8 USC § 1182(n)(1)].
5
     [bracketed material added for clarity; passages immaterial to this action omitted]
6

7           11. The above referenced 8 USC § 1184(i) provides in relevant part that:

8           (i) "Specialty occupation" defined.
9
            (1) Except as provided in paragraph (3), for purposes of section 101(a)(15)(H)(i)(b) [8
10
     USCS § 1101(a)(15)(H)(i)(b)], … and paragraph (2), the term "specialty occupation" means an
11
     occupation that requires--
12

13          (A) theoretical and practical application of a body of highly specialized knowledge, and

14          (B) attainment of a bachelor's or higher degree in the specific specialty (or its equivalent)
15
     as a minimum for entry into the occupation in the United States.
16
            (2) For purposes of section 101(a)(15)(H)(i)(b) [8 USCS § 1101(a)(15)(H)(i)(b)], the
17
     requirements of this paragraph, with respect to a specialty occupation, are--
18

19          (A) full state licensure to practice in the occupation, if such licensure is required to practice

20   in the occupation,
21          (B) completion of the degree described in paragraph (1)(B) for the occupation, or
22
            (C)
23
            (i) experience in the specialty equivalent to the completion of such degree, and
24

25

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1            (ii) recognition of expertise in the specialty through progressively responsible positions

2    relating to the specialty.
3

4
             12. On October 12, 2018 the USCIS issued a decision denying PRI’s petition upon Mr.
5
     Peddada’s behalf solely because it found that he failed to meet the requirements of 8 USC §
6

7    1184(i)(2), which the following regulations have been promulgated implementing:

8            8 CFR § 214.2(h)(4)(iii)(C) Beneficiary qualifications. To qualify to perform services in a
9
     specialty occupation, the alien must meet one of the following criteria:
10
             (1) Hold a United States baccalaureate or higher degree required by the specialty
11
     occupation from an accredited college or university;
12

13           (2) Hold a foreign degree determined to be equivalent to a United States baccalaureate or

14   higher degree required by the specialty occupation from an accredited college or university;
15
             (3) Hold an unrestricted state license, registration or certification which authorizes him or
16
     her to fully practice the specialty occupation and be immediately engaged in that specialty in the
17
     state of intended employment; or
18

19           (4) Have education, specialized training, and/or progressively responsible experience that

20   is equivalent to completion of a United States baccalaureate or higher degree in the specialty
21   occupation, and have recognition of expertise in the specialty through progressively responsible
22
     positions directly related to the specialty.
23
             (D) Equivalence to completion of a college degree. For purposes of paragraph
24

25
     (h)(4)(iii)(C)(4) of this section, equivalence to completion of a United States baccalaureate or

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1    higher degree shall mean achievement of a level of knowledge, competence, and practice in the

2    specialty occupation that has been determined to be equal to that of an individual who has a
3
     baccalaureate or higher degree in the specialty and shall be determined by one or more of the
4
     following:
5
            (1) An evaluation from an official who has authority to grant college-level credit for
6

7    training and/or experience in the specialty at an accredited college or university which has a

8    program for granting such credit based on an individual's training and/or work experience;
9
            …(immaterial provisions omitted)
10
            13. PRI submitted to the USCIS in support of its petition evidence that Mr. Peddada, for
11
     the purposes of 8 CFR § 214.2(h)(4)(iii)(C)(4) of this section, had education and work
12

13   experience equivalent to completion of a United States baccalaureate in Computer Information

14   Systems, in the form of two evaluation so concluding, each from an official who had authority
15
     to grant college-level credit for training and/or experience in that specialty at an accredited
16
     college or university which has a program for granting such credit based on an individual's
17
     training and/or work experience.
18

19          14. These evaluations were supported by evidence of Mr. Peddada’s Bachelor and Master

20   of Technology degrees and detailed letters from employers documenting over 13 years of
21   progressively responsible experience in the field of Computer Information Systems.
22
            15. Nevertheless, the USCIS found that Mr. Peddada did not meet the requirements of 8
23
     CFR § 214.2(h)(4)(iii)(C)(4) because, supposedly,
24

25

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1             1) no “actual supporting evidence” was provided evidencing that Pace University and New

2    York City College have programs for granting college level credits based on training or work
3
     experience and
4
              2) “the work experience letters provided which the college officials utilized in their
5
     evaluations do not appear to be indicative of any progressively responsible work”.
6

7

8                                         VIII CAUSE OF ACTION
9
          16. 5 U.S.C. § 706 provides in material part that:
10
              To the extent necessary to decision and when presented, the reviewing court shall decide
11            all relevant questions of law, interpret constitutional and statutory provisions, and
              determine the meaning or applicability of the terms of an agency action. The reviewing
12
              court shall--
13            …
             (2) hold unlawful and set aside agency action, findings, and conclusions found to be--
14        o   (A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;
15
          20. The USCIS’s decision of October 12, 2018 denying PRI’s H-1B petition upon behalf of
16
     Mr. Peddada was arbitrary and capricious inasmuch as its finding that no “actual supporting
17
     evidence” was provided showing that Pace University and New York City College have
18

19   programs for granting college level credits based on training or work experience ignored the

20   letters and even a website page2 showing that these schools did in fact have such programs and,
21

22
     2
       The letter from New York City College affirming that it had a program for granting college
23
     level credits based on training or work experience indicated that “Information regarding this
24   program may be found at
25
     http://www.citytech.cuny.edu/catalog/docs/catalog15_16_sp16ver.pdf”.

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1    inasmuch as the petitioner’s said evaluations fully satisfied the requirements of 8 CFR §

2    214.2(h)(4)(iii)(C)(4), the other purported deficiencies cited by the decision are irrelevant.
3
          17. To belabor the obvious, letters are evidence. Eyre v. Potter, 56 U.S. (15 How.) 42, 54
4
     (1854), E. Tex. Med. Ctr. Reg'l Healthcare Sys. v. Lexington Ins. Co, 575 F.3d 520, 526 (5th Cir.
5
     2009), Muller v. Olin Mathieson Chem. Corp., 404 F.2d 501, 504 (2d Cir. 1968), S. Pac. Co. v.
6

7    Stevens, 258 F. 165, 167 (9th Cir. 1919). So are Internet (include “website”) pages. Matter of

8    Skirball Cultural Ctr., 25 I. & N. Dec. 799, 804, 806 (B.I.A. May 15, 2012) (finding that the petitioner

9    carried its burden of proof in part through articles found on the internet).

10        18. This is particularly true in immigration proceedings where the test of admissibility is
11
     simply "’whether the evidence is probative and its admission is fundamentally fair.’" Matter of
12
     Velasquez, 25 I. & N. Dec. 680, 683 (B.I.A. January 24, 2012), quoting Matter of D-R-, 25 I. &
13

14
     N. Dec. 445, 458 (BIA 2011) and Espinoza v. INS, 45 F.3d 308, 310 (9th Cir. 1995).3 See Singui

15   v. Holder, 599 Fed. Appx. 640, 640-641 (6th Cir. 2015) (emails are evidence in immigration

16   proceedings).
17
          19. Certainly letters from the Assistant Vice President of Pace University and the Registrar of
18
     New York City College confirming that these schools have programs for granting college-level
19
     credit based on an individual's training and/or work experience is probative of that fact, as is a
20

21   page of New York City College’s website describing the program, and the USCIS has made no

22   claim that consideration of such letters and web page are unfair to it.
23

24   3
      Curiously, the USCIS had no objection to considering the work experience letters from Mr. Peddada’s employers
25   and in fact analyzed them at length. It offers no explanation for this apparent inconsistency.

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1       20. In fact, the USCIS made no finding that the letters or web page were inadmissible at all –

2    it simply ignored them. This appears to be a pattern in USCIS decision-making on H-1B matters.
3
     Just a month ago Judge Contreras of this Court ruled in another action involving the denial of an
4
     H-1B petition that “the agency cannot base its decision on a supposed lack of evidence when
5
     evidence was not actually lacking. To do so is to act arbitrarily and capricious. See Genuine
6

7    Parts, 890 F.3d at 312 (‘[A]n agency cannot ignore evidence contradicting its

8    position.’(quoting Butte Cty, 613 F.3d at 194)).” PRI IT Sols., Inc. v. United States Citizenship &
9
     Immigration Servs., 2018 U.S. Dist. LEXIS 196284, *30. Needless to say, the agency’s disregard
10
     of the schools’ letters and web page here was equally arbitrary and capricious.
11
        21. Inasmuch as 8 CFR § 214.2(h)(4)(iii)(D) provides that for the purposes of 8 CFR §
12

13   214.2(h)(4)(iii)(C)(4), equivalence of completion of a United States baccalaureate or higher

14   degree shall be determined by, among others things, an evaluation from an official who has
15
     authority to grant college-level credit for training and/or experience in the specialty at an
16
     accredited college or university which has a program for granting such credit based on an
17
     individual's training and/or work experience, and the petitioner did in fact submit two such
18

19   evaluations, this was all the evidence the petitioner was required to provide to establish that the

20   beneficiary had the equivalent of a bachelor’s degree in the required specialty.
21      22. Accordingly, any purported deficiencies in the letters verifying the beneficiary’s
22
     experience are irrelevant and so the agency’s reliance upon them as ground for concluding that
23
     the petitioner had not established that he had the required degree is arbitrary. See North Carolina
24

25
     v. EPA, 382 U.S. App. D.C. 167, 201, 531 F.3d 896, 930 (2008) (“The SO[2] regionwide caps

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1    are entirely arbitrary, since EPA based them on irrelevant factors like the existence of the Title

2    IV program”).
3
        23. In any event, the beneficiary’s experience was in fact progressively responsible for the
4
     reasons set forth by both evaluators in their respective evaluations, and the USCIS’s bare
5
     assertion to the contrary was conclusory and so arbitrary and capricious. Amerijet Int'l, Inc. v.
6

7    Pistole, 753 F.3d 1343, 1350, 410 U.S. App. D.C. 176 (D.C. Cir. 2014).

8       24. Further, there is no requirement in any event that the petitioner provide evidence that the

9    beneficiary’s “training and/or work experience included the theoretical and practical application
10
     of specialized knowledge required by the specialty occupation;” nor that his “experience was
11
     gained while working with peers, supervisors, or subordinates who have a degree or its
12
     equivalent in the specialty occupation;” because these requirements are necessary to establish
13

14   that the beneficiary had the equivalent of a degree under another provision of 8 CFR §

15   214.2(h)(4)(iii)(D) – subclause (5).
16
        25. “It is a well-known canon of statutory construction that ‘[w]here Congress includes
17
     particular language in one section of a statute but omits it in another section of the same Act, it is
18
     generally presumed that Congress acts intentionally and purposely in the disparate inclusion or
19

20   exclusion.’” INS v. Cardoza-Fonseca, 480 U.S. 421,432 (1987) (quoting Russello v. United

21   States, 464 U.S. 16, 23 (1983)).” Matter of M-H-Z-, 26 I&N Dec. 757 (BIA 2016).
22
        26. Inasmuch as the agency “look(s) to general rules of statutory construction to interpret and
23
     analyze the pertinent regulations”, Matter of H-N, 22 I. & N. Dec. 1039, 1041 (B.I.A. October
24
     13, 1999), therefore application of the rule of Cardoza-Fonesca, Russello and M-H-Z- to the
25

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1    instant matter leads inescapably to the conclusion that 8 CFR § 214.2(h)(iii)(D)(1), upon which

2    the petitioner relies here to prove that the beneficiary has the equivalent of a degree in the
3
     specialty, does not require that the petitioner provide evidence that the beneficiary’s “training
4
     and/or work experience included the theoretical and practical application of specialized
5
     knowledge required by the specialty occupation;” nor that his “experience was gained while
6

7    working with peers, supervisors, or subordinates who have a degree or its equivalent in the

8    specialty occupation;” because these requirements are necessary to establish that the beneficiary
9
     had the equivalent of a degree under subclause (5) of the very same clause that contains 8 CFR §
10
     214.2(h)(4)(iii)(D)(1), and so would have been included in subclause (1) had the Secretary of
11
     Homeland Security wished it to be a factor in determining whether the beneficiary had the
12

13   equivalent of degree under subclause (1).

14      27. WHEREFORE, inasmuch as the sole bases for the denial of the PRI’s petition upon Mr.
15
     Peddada were arbitrary and capricious, it is respectfully requested that this Court hold unlawful
16
     and set aside the decisions denying PRI’s petition for nonimmigrant worker upon Mr. Peddada’s
17
     behalf.
18

19
     Respectfully submitted this th day of December, 2018
20

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